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David G. Hosenpud, OSB No. 832414
hosenpudd@lanepowell.com
Carter M. Mann, OSB No. 960899
mannc@lanepowell.com
Carin A. Marney, OSB No. 131945
marneyc@lanepowell.com
LANE POWELL PC
601 S.W. Second Avenue, Suite 2100
Portland, Oregon 97204
Telephone: 503.778.2100
Facsimile: 503.778.2200

Karen O’Kasey, OSB No. 870696
kok@hartwagner.com
HART WAGNER LLP
1000 SW Broadway, Suite 2000
Portland, OR 97205
Telephone: 503.222.4499
Facsimile: 503.222.2301

Attorneys for Defendant Oregon Anesthesiology
Group




                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       PORTLAND DIVISION


E.P., K.R., C.R., D.C., A.L., and B.G.           Case No. 3:24-cv-01215-JR
individually and on behalf of all others
similarly situated,                              DEFENDANT OREGON
                                                 ANESTHESIOLOGY GROUP’S
                                 Plaintiffs,     UNOPPOSED MOTION FOR
                                                 EXTENSION OF TIME TO RESPOND
          v.                                     TO COMPLAINT

PROVIDENCE ST. JOSEPH HEALTH;
PROVIDENCE HEALTH & SERVICES;
PROVIDENCE HEALTH & SERVICES –
OREGON; PROVIDENCE WILLAMETTE
FALLS MEDICAL CENTER; PROVIDENCE
PORTLAND MEDICAL CENTER;
OREGON ANESTHESIOLOGY GROUP;
LEGACY HEALTH; and LEGACY MOUNT
HOOD MEDICAL CENTER,

                               Defendants.
PAGE 1 – DEFENDANT OREGON ANESTHESIOLOGY GROUP’S                        LANE POWELL PC
                                                              601 S.W. SECOND AVENUE, SUITE 2100
         UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                                                                    PORTLAND, OREGON 97204
         RESPOND TO COMPLAINT                                     503.778.2100 FAX: 503.778.2200
131010.0002/9853879.4 `
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                             LR 7-1 CERTIFICATE OF CONFERRAL
         Pursuant to LR 7-1(a), counsel for defendant Oregon Anesthesiology Group, P.C. certifies

that its counsel conferred with counsel for plaintiffs E.P., K.R., C.R., D.C., A.L., and B.G. by

electronic mail on August 20, 2024, before filing this motion, and they have no objection to this

motion.

                                              MOTION

         Pursuant to Fed. R. Civ. P. 6 and LR 16-3, defendant Oregon Anesthesiology Group P.C.

(“OAG”), moves for an extension of the August 28, 2024 deadline to respond to the First Amended

Class Action Complaint (“FAC”) filed by plaintiffs. In support of this motion, Defendant states

as follows:

         1.        Plaintiff filed the FAC on July 31, 2024. (ECF No. 7.)

         2.        OAG was served on August 7, 2024.

         3.        OAG’s response to the FAC is due August 28, 2024.

         4.        OAG seeks a 30-day extension of the August 28 deadline, up to and including

September 27th, 2024.

         5.        There is good cause for the extension sought by OAG. The factual complexity and

nature of the allegations and claims involve investigation before a responsive pleading can be filed.

This motion is not for purpose of delay.




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         6.        No party will be prejudiced by the granting of this motion, and Plaintiffs do not

object to an extension of OAG’s deadline to file a responsive pleading.


         DATED: August 22, 2024

                                              LANE POWELL PC



                                              By:    s/ Carter M. Mann
                                                    David G. Hosenpud, OSB No. 832414
                                                    Carter M. Mann, OSB No. 960899
                                                    Carin A. Marney, OSB No. 131945
                                                    Telephone: 503.778.2100

                                              HART WAGNER LLP
                                              Karen O’Kasey, OSB No. 870696
                                              Telephone: 503.222.4499

                                              Attorneys for Defendant Oregon Anesthesiology
                                              Group




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